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UNITED STATES DISTRICT COURT f 9_ 5
WESTERN DISTRICT OF TENNESSEE DATE' __'QH"L"Q_'_

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UNITED STATES OF AMERICA SNE°HN,S:M § -_.,..._

 

-vs- Case No. 1:05cr10012-001-T

JAMES CURTIS BAKER

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-Styled case, and is Otherwise qualified for appointment ofcounsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
The F ederal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

All purposes including trial and appeal.

DONE and ORDERED in 1 11 South Highland, Jackson, TN this 22nd day of April, 2005.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender

This document entered on the docket sheet ln compliance
with Rule 55 andior 32(b) FF|CrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
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Apri126, 2005 to the parties listed.

 

 

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

